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                                  UNITED STATES DISTRICT COURT
                                       DISTRICT OF MAINE



 DANIELLE KITCHIN and DANA B. KITCHIN, Co-
 Personal Representatives and heirs of the ESTATE OF Docket No. 1:18-cv-00356-JDL
 DANA A. KITCHIN,

 Plaintiffs,

 v.

 RANDALL LIBERTY, et al.



                                    PLAINTIFFS’ STATUS REPORT

        Plaintiff’s Danielle Kitchin and Dana B. Kitchin, on behalf of the Estate of Dana A. Kitchin

(collectively, “Plaintiffs”) file this status report to provide the Court with an update on serving Co-

Defendant, Amanda L. Paine.

        1. On October 30, 2019, the Court held a telephonic status conference to discuss Plaintiffs

               inability to serve Co-Defendant, Amanda L. Paine. [ECF No. 78]. The deadline to serve

               Mrs. Paine was October 30, 2019. Attorney John Wall, who was retained to represent Mrs.

               Paine, had not been able to reach her and was told she was deployed overseas.

        2. On October 31, 2019, the Court issued an Order, that extended the time for Plaintiffs to

               serve Mrs. Paine and requested the Plaintiffs file a status report regarding their efforts to

               serve Mrs. Paine no later than December 31, 2019 [ECF No. 79].

        3. Following the telephonic status conference, undersigned counsel was able to ascertain

               additional contact information for Mrs. Paine and shared the same with Attorney Wall.

               Attorney Wall agreed to reach out to Mrs. Paine before Plaintiffs attempted to formally

               serve Mrs. Paine by sheriff.




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       4. On December 9, 2019, Attorney Wall emailed undersigned counsel and informed them that

           he has spoken with Mrs. Paine and was authorized to waive service on her behalf.

       5. On December 9, 2019, following Attorney Wall’s email, Attorney John Burke emailed to

           Attorney Wall a copy of the executed summons for Mrs. Paine, a copy of the Second

           Amended Complaint and a Waiver of Service form.

       6. As of today’s date, undersigned council has not received an executed Waiver of Service

           from Attorney Wall. Plaintiffs will promptly file the Waiver of Service as soon as it is

           received by undersigned council.

           Dated this 12th day of December 2019 in Portland, Maine.

       Respectfully Submitted,                       Respectfully Submitted,

       /s/ Timothy E. Zerillo, Esq.                  /s/ John M. Burke, Esq.
       ME Bar No. 9108                               ME Bar No. 4787
       Attorney for Plaintiffs                       Attorney for Plaintiffs
       Zerillo Law Firm, LLC                         Caseiro Burke LLC
       1250 Forest Ave, Ste 3A                       One Union Street, Suite 400
       Portland, ME 04103                            Portland, ME 04101
       207-228-1139                                  207-219-8418
       tim@zerillolaw.com                            jburke@caseiroburke.com


                                 CERTIFICATE OF SERVICE

        I hereby certify that on December 12, 2019, I electronically filed the PLAINTIFFS’ STATUS
REPORT with the Clerk of Court using the CM/ECF system. Notice of this filing has been sent by
operation of the Court’s CM/ECF system to all parties that have appeared in this matter. All parties
that have not appeared in this matter will be served in accordance with the Federal Rules of Civil
Procedure.

                                                     Respectfully Submitted,

                                                     /s/ John M. Burke, Esq.
                                                     ME Bar No. 4787
                                                     Attorney for Plaintiffs
                                                     Caseiro Burke LLC
                                                     One Union Street, Suite 400
                                                     Portland, ME 04101
                                                     207-219-8418
                                                     jburke@caseiroburke.com


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